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 6

 7
                                 UNITED STATES DISTRICT COURT
 8
                              NORTHERN DISTRICT OF CALIFORNIA
 9

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     JOHN DOE & JANE DOE, individually and on         Case No. 3:22-cv-07557
11   behalf of all others similarly situated,
12                                      Plaintiffs,   ADMINISTRATIVE MOTION TO
            v.                                        CONSIDER WHETHER CASES
13                                                    SHOULD BE RELATED
14   META PLATFORMS, INC.,                            (CORRECTED)
15                                     Defendant.
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     ADMINISTRATIVE MOTION TO CONSIDER WHETHER CASES SHOULD BE RELATED
     CASE NO. 3:22-CV-07557
          Case 3:22-cv-07557-SI Document 22 Filed 01/05/23 Page 2 of 2




 1          On December 29, 2022, an action was commenced in this District captioned Calderon et al.
 2   v. Meta Platforms, Inc., Case No. 5:22-cv-09149-VKD. The Calderon matter may meet the
 3   definition of a related case under Local Rule 3-12 because:
 4              1. This action and the Calderon action are putative class actions against the same
 5                  defendant, Meta Platforms, Inc.;
 6              2. This action and the Calderon action involve the same or similar allegations that
 7                  Meta surreptitiously acquired tax filing information from class members who used
 8                  online tax filing websites provided by H&R Block, Tax Act, and TaxSlayer.
 9              3. This action and the Calderon action assert many of the same causes of action.
10          Accordingly, there appears to be the potential for an unduly burdensome duplication of
11   labor and expense or conflicting results if the cases are conducted before different judges.
12
     Dated: January 5, 2023                        BURSOR & FISHER, P.A.
13
                                                   By:    /s/ Joel D. Smith
14                                                            Joel D. Smith
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     ADMINISTRATIVE MOTION TO CONSIDER WHETHER CASES SHOULD BE RELATED                                 1
     CASE NO. 3:22-CV-07557
